Case 1:04-cv-01201-.]DT-STA Document 21 Filed 08/08/05 Page 1 of 3 Page|D 27

07000)'57573-RDT

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
EASTERN DlVlSION

CHARLOTTE GR|FF|N HAMLLTON,
individually and as parent and next
friend of |V|ARGARET GR|FF|N, a
minor, and JEREM|AH HA|V|ILTON,
a minor,

 

Plaintiff,
vs. NO.1-04-1201-T-An

R|CKEY D. FOSTER and JEREMY

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WALKER o/B/A WALKER TRuci<iNo, )
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)

Defendants.

 

M ORDER GRANT|NG DEFENDANT JEREMY WALKER DlBlA WALKER
TRUCKING’S MOT|ON TO COMPEL DlSCOVERY

 

This matter came before the Court pursuant to the Defendant’s |V|otion to Compe|
Discovery. |t appearing from the record that the Defendant served Defendant’s First Set
of interrogatories and Request for Production of Documents to P|aintiff Char|otte Griffin
Hami|ton, individuallyl Defendant’s First Set of interrogatories and Request for Production
of Documents to Char|otte Griffin Hamiiton, as Parent and Next Friend of |Viargaret Griffin,
and Defendant’s First Set of interrogatories and Request for Production of Documents to
Char|otte Griffin Hami|ton, as Parent and Next Friend of Jeremiah i-iamilton on Aprii 11,
2005, and that the P|aintiff has not provided her signed and sworn to answers/responses
to said Written discovery and that Piaintiff has not provided the signed Authorizations for
the Use and Disc|osure of Protected Hea|th informationl this Court finds that the

Defendant’s |Viotion is well taken,

This document entered on the docket sheet in compliance
with Fiuie 53 and'or 79 (a) FF!CP on

Case 1:04-cv-01201-.]DT-STA Document 21 Fiied 08/08/05 Page 2 of 3 PageiD 28

07000/57573-RDT
iT iS, THEREFORE, ORDERED that the Plaintiffshali serve upon the Defendant her

signed and sworn to answers/responses to the Defendant’s First Set of interrogatories and
Request for Production of Doouments to Piaintiff Charlotte Griffin l-lamiltonl lndividually,
Defendant’s First Set of interrogatories and Request for Production of Doouments to
Charlotte Griffin Hamiiton, as Parent and Next Friend of t\/iargaret Griffin, and Defendant’s
First Set of interrogatories and Request for Production of Doouments to Charlotte Griffin
Hami|ton, as Parent and Next Friend of Jeremiah Hamiiton along with the signed
Authorizations for the Use and Disciosure of Protected Heaith information no later than ten

(10) days from the entry of this Order.

ENTEREothiS j_'~Z-day of £u,i+ ,2005_

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JUDGE JAMES-B._TGE)D

CERTIF|CATE OF SERV|CE
The undersigned certifies that a true copy of this pleading or document was served

upon Wi|iiam D. Ho|man, 4227 Pleasant Hill Road, Buiiding 11, Suite 300, Duiuth, GA
30096 by mailing postage prepaid.

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 21 in
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R. Dale Thomas

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Honorable J ames Todd
US DISTRICT COURT

